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Matthew B. Gilliam

From:                           Adam Greenfield <agreenfield@candglegal.com>
Sent:                           Monday, November 23, 2020 1:45 PM
To:                             Matthew B. Gilliam; Jeff D. Jennings; Ed Cloutman
Subject:                        Carter - Document Production and 30(b)(6)
Attachments:                    05.15.2017 ActiveGrievanceReport.xls; 06.05.2017 ActiveGrievanceReport.xls; 8.2.2017
                                ActiveGrievanceReport.xls; 8.22.17 Grievance Status Breakdown.working copy.xlsx;
                                11.3.17 Grievance Status Breakdown..xlsx; 05.05.2017 ActiveGrievanceReport.xls;
                                8.11.2017 ActiveGrievanceReport.xls; 10.6.17 Grievance Status Breakdown..xlsx; 4.7.2017
                                ActoveGrievanceReport-2.xls; 1.23.18 Status Breakdown working copy.xlsx; 5.5.17
                                Grievance Report.xls; 4.10.2017 ActoveGrievanceReport-2.xls; 07.07.2017
                                ActiveGrievanceReport-2.xls; 6.12.17 Grievance Status Breakdown.xlsx; 10.13.17
                                Grievance Status Breakdown..xlsx; 07.28.2017 ActiveGrievanceReport.xls; 2018 Fact
                                Finding Meetings by Base-2018_1W90KSNTDZY9QNWq2ZYWyywGBoXzlMUq0.xlsx;
                                10.27.17 Grievance Status Breakdown..xlsx; 4.10.2017 Grievance Status Breakdown.xlsx;
                                6.28.17 Grievance Status Breakdown.xlsx; 06.28.2017 ActiveGrievanceReport.xls;
                                8.25.2017 ActiveGrievanceReport.xls; 8.16.2017 ActiveGrievanceReport-2.xls; 06.12.2017
                                ActiveGrievanceReport.xls; 7.7.17 Grievance Status Breakdown.xlsx


Matthew--

Please find attached the Excell files that were previously marked as attorney client privilege.

Ive been trying to PDF and Bates label the attached documents but it turns them into nonsense. As such, I have
attached the native Excel sheets.

Also included is previously marked privilege document 091-181. Ed confirmed that this document was created
for the grievance committee, not legal counsel. Our apologies.

I have also confirmed Mrs. Stone's ability to be a part of the 30(b)(6) deposition taking place on Nov. 30, so we
will be able to get all of the topics done that day.

As always, please let me know if you have any questions or concerns.


Thanks, Adam Greenfield

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Matthew B. Gilliam

From:                             Matthew B. Gilliam
Sent:                             Tuesday, November 17, 2020 1:36 PM
To:                               'Adam Greenfield'
Cc:                               Ed Cloutman; Jeff D. Jennings
Subject:                          RE: Local 556 30(b)(6) topics


Hi Adam,

In addition to discussing the 30(b)6) issues tomorrow, we have several discovery issues we wanted to cycle back on
given the November 30 discovery deadline.

       Grievance committee reports. Back on October 6, you identified that the grievance committee reports from the
        prior privilege log were not privileged, and that those would be produced. Unless I’ve missed them, I do not
        think we have them. Do you know when those might be available?

       Search terms. During the hearing, I remember the Judge indicated that Local 556 should run all of our requested
        search terms and produce its results. Do you have any more information regarding those search term results?

       Extension of discovery deadlines. Also, I wanted to check again on the union’s position regarding the extension
        of discovery deadlines.

       Privilege log. We also have a couple of questions about the privilege log. (1) For the Memo (022-035), we have
        questions about whether a memo sent to the membership at large retains its attorney client protection. (2) For
        the last entry (091-181), does the entire spreadsheet show legal questions made to counsel? Or are the
        questions asked based off of information in the spreadsheet.

Finally, we are having some difficulty opening the “snote” files that are included in folders you sent. We downloaded the
program but we’re unsure whether we are seeing all of the contents. Do you all have those available in a different
format? Is there a particular program you use to open those?

Thanks,
Matt
__________________
Matthew B. Gilliam
Staff Attorney (admitted and licensed to practice only in New York and West Virginia)
c/o National Right to Work Legal Defense Foundation, Inc.
8001 Braddock Road, Ste. 600, Springfield, VA 22160
O: 703-770-3339 F: 703-321-9319
Email: mbg@nrtw.org Web: www.nrtw.org

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From: Adam Greenfield <agreenfield@candglegal.com>
Sent: Tuesday, November 17, 2020 10:03 AM
To: Matthew B. Gilliam <mbg@nrtw.org>

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Matthew B. Gilliam

From:                          Adam Greenfield <agreenfield@candglegal.com>
Sent:                          Monday, November 16, 2020 2:02 PM
To:                            Matthew B. Gilliam; Jeff D. Jennings
Cc:                            Ed Cloutman
Subject:                       Carter v. 556 and SWA - Document Production
Attachments:                   Carter - 6655-6685.pdf



Matthew-- Please find attached additional discovery in alignment with the Court's Discovery Order, specifically
pertaining to individuals searching documents that they had in their possession outside of union devices.

Please let me know if you have any questions or concerns.


Thanks, Adam Greenfield

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Matthew B. Gilliam

From:                                     Adam Greenfield <agreenfield@candglegal.com>
Sent:                                     Friday, October 16, 2020 9:01 PM
To:                                       Matthew B. Gilliam; Jeff D. Jennings
Cc:                                       Ed Cloutman
Subject:                                  Carter - Previous Work Product


Matthew--

Pursuant to the Court's Order, please find attached the "board packets" that were previously being withheld due
to work product assertions.

Earlier today I finished my 7th deposition for the week, so my apologies in that I have not had the opportunity
to have them Bates labeled. I will have that done for you next week. We will also be producing them as
confidential pursuant to our Agree Protective Order.

Due to the large volume I zipped the file. Please let me know if you have any questions or concerns.

Sincerely, Adam Greenfield

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Thanks, Adam Greenfield

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Matthew B. Gilliam

From:                            Adam Greenfield <agreenfield@candglegal.com>
Sent:                            Tuesday, October 6, 2020 2:26 PM
To:                              Matthew B. Gilliam; Jeff D. Jennings; Ed Cloutman
Subject:                         Carter v. 556 and SWA - 556 privilege log
Attachments:                     Amended Privilege Log - DRAFT - 10.6.20.doc


Matthew--

After further review of our privilege log I was able to identify that certain other items, namely all of the
"Grievance Committee Reports, etc." were also sent to Tammy Schaffaer at SWA, thus not privileged.
Unfortunately this has caused a Bates labeling nightmare. We of course will produce these documents.

I have attached the most updated amended privilege log for expediency sake and to allow you time to prepare if
you anticipate challenging any of the privilege assertions.

All that is currently missing are Bated numbers (due to the above issue) and the specific e-board members
names and positions at the time the e-board received legal advice from Mark Richards' Firm.

I am about to walk into a deposition so I will send you a finalized and amended privilege log with the above
information in the morning.

Sincerely, Adam Greenfield

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